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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA,                          Case No. 17-cr-00533-EMC-1
                                   8                    Plaintiff,
                                                                                            ORDER GRANTING IN PART AND
                                   9             v.                                         DENYING IN PART DEFENDANTS’
                                                                                            MOTION TO EXCLUDE
                                  10     JONATHAN JOSEPH NELSON, et al.
                                                                                            Docket No. 984
                                  11                    Defendants.

                                  12
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                                  14                                       I.      INTRODUCTION

                                  15          The United States has charged eleven defendants (“Defendants”), members of the Hells

                                  16   Angels Motorcycle Club (“HAMC”), with violations of 18 U.S.C. § 1962(d) (RICO conspiracy),

                                  17   18 U.S.C. § 1959(a)(1) (VICAR murder), and/or several other offenses. See Docket No. 374

                                  18   (“Superseding Indictment”). Pending before the Court is Defendants’ motion to exclude the

                                  19   testimony of the Government’s proposed expert, Jeremy Scheetz. See Docket No. 984 (“Joint

                                  20   Mot.”). For the reasons given below, the motion is GRANTED in part and DENIED in part.

                                  21                                       II.      BACKGROUND

                                  22          The Government first filed charges against Defendants in late 2017. See Docket No. 1. It

                                  23   filed a superseding indictment in September 2018. The superseding indictment alleged, inter alia,

                                  24   that several Defendants were involved in the 2014 killing of an individual in Fresno, California, as

                                  25   well as the clandestine disposal of the victim’s body. Superseding Indictment ¶ 22(e). It also

                                  26   alleges that Defendants, in their capacity as members or former members of the Hells Angels

                                  27   Sonoma County (“HASC”) and affiliated HAMC chapters, regularly “engage in criminal activity,

                                  28   including murder, narcotics distribution, assault, robbery, extortion, illegal firearms possession,
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                                   1   and obstruction of justice . . . .” Id. ¶¶ 1, 6. The Government thus charges Defendants with crimes

                                   2   particular to themselves and as participants in HASC’s racketeering enterprise.

                                   3          As part of its case-in-chief, the Government seeks to introduce testimony of Intelligence

                                   4   Operations Specialist Scheetz of the Bureau of Alcohol, Tobacco, Firearms and Explosives as an

                                   5   “enterprise” expert. See Docket No. 1084-1 (“Decl.”) ¶ 1. Mr. Scheetz proposes to discuss “Hells

                                   6   Angels symbols, terms, and territory,” as well as the group’s “history and structure” to the extent

                                   7   they are relevant to his primary focus. Id. ¶ 18.

                                   8          On March 17, 2020, Defendants jointly moved to exclude Mr. Scheetz’s testimony. See

                                   9   Joint Mot. They requested that the Court hold an evidentiary (or Daubert) hearing on the

                                  10   admissibility of his testimony, id., and filed a brief in support of their motion, Docket No. 985.

                                  11   The Government filed its response in opposition shortly thereafter. See Docket No. 999 (“First

                                  12   Opp’n”). As instructed by the Court, Mr. Scheetz eventually submitted a 38-page declaration
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                                  13   containing his proposed testimony, along with twenty exhibits. See Decl. & Exs. 1-20. The Court

                                  14   then scheduled a series of three Daubert evidentiary hearings, each lasting between three and four

                                  15   hours, which took place on August 18, August 25, and August 28, 2020. See Docket Nos. 1146,

                                  16   1157, 1185. Mr. Scheetz’s declaration served as his direct testimony. He was subjected to

                                  17   extensive cross-examination by each Defendant who elected to participate in the hearing.

                                  18          Pursuant to the Court’s instructions at the end of the final Daubert hearing, the

                                  19   Government filed a supplemental response in opposition to Defendants’ motion to exclude Mr.

                                  20   Scheetz’s testimony on September 4, 2020. See Docket No. 1184 (“Second Opp’n”). Defendants

                                  21   also submitted two narrower sets of objections to Mr. Scheetz’s testimony the following week.

                                  22   See Docket Nos. 1197 (“Cesena Obj.”) and 1199 (“Wendt Obj.”). Finally, on September 16,

                                  23   2020, Defendants submitted a notice of false testimony by Mr. Scheetz, which he allegedly

                                  24   proffered during the Daubert hearings. See Docket No. 1205 (“Lyles Obj.”). The Government

                                  25   responded to this filing six days later. See Docket No. 1214 (“Third Opp’n”).

                                  26                                    III.      LEGAL STANDARD

                                  27          Federal Rule of Evidence 702 states the requirements for admitting expert testimony. Rule

                                  28   702 provides that a witness “qualified as an expert by knowledge, skill, experience, training, or
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                                   1   education,” Fed. R. Evid. 702, may offer opinion testimony if it “rests on a reliable foundation and

                                   2   is relevant to the task at hand,’” Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 597 (1993).

                                   3   In order to testify as an expert, Rule 702 mandates that

                                   4                  (a) the expert’s scientific, technical, or other specialized knowledge
                                                      will help the trier of fact to understand the evidence or to determine
                                   5                  a fact in issue;
                                   6                  (b) the testimony is based on sufficient facts or data;
                                   7                  (c) the testimony is the product of reliable principles and methods;
                                                      and
                                   8
                                                      (d) the expert has reliably applied the relevant principles and
                                   9                  methods to the facts of the case.
                                  10   Fed. R. Evid. 702 (emphasis added). Rule 703 further identifies the permissible “bases” of an

                                  11   expert’s opinion testimony, which must be premised on “facts or data in the case that the expert

                                  12   has been made aware of or personally observed.” Fed. R. Evid. 703. Additionally, “[i]f experts in
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                                  13   the particular field would reasonably rely on those kinds of facts or data in forming an opinion on

                                  14   the subject, they need not be admissible for the opinion to be admitted.” Id. (emphasis added).

                                  15   “But if the facts or data would otherwise be inadmissible,” the Rule concludes, “the proponent of

                                  16   the opinion may disclose them to the jury only if their probative value in helping the jury evaluate

                                  17   the opinion substantially outweighs their prejudicial effect.” Id.

                                  18          The Supreme Court has fleshed out the standards for admissibility under Rules 702 and

                                  19   703 in a series of cases, including Daubert; General Electric Co. v. Joiner, 522 U.S. 136 (1997);

                                  20   and Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137 (1999). Synthesizing the holdings of these

                                  21   decisions, the Ninth Circuit has explained that a trial court, in deciding whether to admit expert

                                  22   testimony, acts as “a gatekeeper, not a fact finder.” United States v. Sandoval-Mendoza, 472 F.3d

                                  23   645, 654 (9th Cir. 2006). The court articulates the test of relevance and reliability in the following

                                  24   manner:

                                  25                  “Expert opinion testimony is relevant if the knowledge underlying it
                                                      has a valid connection to the pertinent inquiry. And it is reliable if
                                  26                  the knowledge underlying it has a reliable basis in the knowledge
                                                      and experience of the relevant discipline.” [Primiano v. Cook, 598
                                  27                  F.3d 558, 565 (9th Cir. 2010)] (citation and internal quotation marks
                                                      omitted). “Shaky but admissible evidence is to be attacked by cross
                                  28                  examination, contrary evidence, and attention to the burden of proof,
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                                                      not exclusion.” Id. at 564 (citation omitted). The judge is “supposed
                                   1                  to screen the jury from unreliable nonsense opinions, but not
                                                      exclude opinions merely because they are impeachable.” [Alaska
                                   2                  Rent–A–Car, Inc. v. Avis Budget Grp., Inc., 738 F.3d 960, 969 (9th
                                                      Cir. 2013)]. Simply put, “[t]he district court is not tasked with
                                   3                  deciding whether the expert is right or wrong, just whether his
                                                      testimony has substance such that it would be helpful to a jury.” Id.
                                   4                  at 969–70.
                                   5                  The test of reliability is flexible. Estate of Barabin v. AstenJohnson,
                                                      Inc., 740 F.3d 457, 463 (9th Cir. 2014) (en banc).1 The court must
                                   6                  assess the expert's reasoning or methodology, using as appropriate
                                                      criteria such [factors] as testability, publication in peer-reviewed
                                   7                  literature, known or potential error rate, and general acceptance. Id.;
                                                      see also Primiano, 598 F.3d at 564. But these factors are “meant to
                                   8                  be helpful, not definitive, and the trial court has discretion to decide
                                                      how to test an expert’s reliability as well as whether the testimony is
                                   9                  reliable, based on the particular circumstances of the particular
                                                      case.” Primiano, 598 F.3d at 564 (citations and quotation marks
                                  10                  omitted); see also Barabin, 740 F.3d at 463. The test “is not the
                                                      correctness of the expert's conclusions but the soundness of his
                                  11                  methodology,” and when an expert meets the threshold established
                                                      by Rule 702, the expert may testify and the fact finder decides how
                                  12                  much weight to give that testimony. Primiano, 598 F.3d at 564–65.
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                                                      Challenges that go to the weight of the evidence are within the
                                  13                  province of a fact finder, not a trial court judge. A district court
                                                      should not make credibility determinations that are reserved for the
                                  14                  jury.
                                  15   City of Pomona v. SQM N. Am. Corp., 750 F.3d 1036, 1044 (9th Cir. 2014) (emphasis added).

                                  16   While the Ninth Circuit has recently reminded district courts of their gatekeeping function in the

                                  17   Daubert inquiry, warning against a reflexive “‘that goes to weight, not admissibility’ default”

                                  18   position, United States v. Valencia-Lopez, 971 F.3d 891, 898 (9th Cir. 2020), it remains the case

                                  19   that the “gate [should] not be closed to [a] relevant opinion offered with sufficient foundation by

                                  20   one qualified to give it,” Primiano, 598 F.3d at 568.

                                  21           The proponent of expert testimony “has the burden of establishing that the pertinent

                                  22   admissibility requirements are met by a preponderance of the evidence.” Fed. R. Evid. 702

                                  23   advisory committee’s note—2000 amendment (citing Bourjaily v. United States, 483 U.S. 171

                                  24   (1987)).

                                  25           Related to the limits on admitting expert testimony under evidentiary rules are constraints

                                  26   imposed by the Constitution. The Confrontation Clause of the Sixth Amendment provides that in

                                  27
                                       1
                                  28    The Ninth Circuit recently overruled Estate of Barabin on other grounds in United States v.
                                       Bacon, 979 F.3d 766, 770 (9th Cir. 2020) (en banc).
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                                   1   criminal cases the accused has the right “to be confronted with the witnesses against him.” U.S.

                                   2   Const. amend. VI. “[T]he Clause’s ultimately goal is to ensure reliability of evidence, but it is a

                                   3   procedural rather than a substantive guarantee,” requiring only “that reliability be assessed in a

                                   4   particular manner: by testing in the crucible of cross-examination.” Crawford v. Washington, 541

                                   5   U.S. 36, 61 (2004).

                                   6           In Crawford, the landmark case that established the modern approach to the confrontation

                                   7   right, the Supreme Court held that the Confrontation Clause applies to all “testimonial”

                                   8   statements. See id. at 50-51. The Court has since explained that “statements are testimonial when

                                   9   they result from questioning, ‘the primary purpose of [which was] to establish or prove past events

                                  10   potentially relevant to later criminal prosecution,’ Davis v. Washington, [547 U.S. 813, 822

                                  11   (2006)], and when written statements are ‘functionally identical to live, in-court testimony,’ ‘made

                                  12   for the purpose of establishing or proving some fact’ at trial, Melendez-Diaz v. Massachusetts,
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                                  13   [557 U.S. 305, 310–11 (2009)] (internal quotation marks omitted).” Lucero v. Holland, 902 F.3d

                                  14   979, 989 (9th Cir. 2018). The Crawford Court thus concluded that “[t]estimonial statements of

                                  15   witnesses absent from trial [may be] admitted only where the declarant is unavailable, and only

                                  16   where the defendant has had a prior opportunity to cross-examine.” 541 U.S. at 59. But Crawford

                                  17   left non-testimonial hearsay outside the protection of the Confrontation Clause, subject only to

                                  18   “traditional limitations upon hearsay evidence.” Davis, 547 U.S. at 821. And it did “not bar the

                                  19   use of testimonial statements for purposes other than establishing the truth of the matter

                                  20   asserted”—i.e., for non-hearsay purposes—as the Confrontation Clause is primarily “concerned

                                  21   with testimonial hearsay.” Crawford, 541 U.S. at 59 n.9 (citing Tennessee v. Street, 471 U.S. 409,

                                  22   414 (1985), 53.2

                                  23           The following analysis proceeds within the overlapping frameworks provided by Rule 702

                                  24   (as elaborated in Daubert and its progeny) and, to a lesser extent, the Confrontation Clause (as

                                  25   applied in the Crawford line of cases).

                                  26
                                       2
                                  27     Federal Rules of Evidence 801-807 govern the admissibility of hearsay. Hearsay is an out-of-
                                       court statement offered “to prove the truth of the matter asserted.” Fed. R. Evid. 801(c)(2).
                                  28   Hearsay is generally inadmissible, Fed. R. Evid. 802, subject to the myriad exceptions enumerated
                                       in Rules 803 and 804.
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                                   1                                        IV.      DISCUSSION

                                   2          The parties have now filed several briefs on the admissibility of Scheetz’s testimony, both

                                   3   before and after his three Daubert hearings (which cumulatively ran to almost ten hours). The

                                   4   Government and Defendants each advance arguments in their post-hearing briefs similar to those

                                   5   they first raised several months earlier. Because the post-hearing briefs tend to be more precise

                                   6   than their pre-hearing counterparts, addressing specific opinions in Mr. Scheetz’s declaration, the

                                   7   Court focuses primarily on these below.

                                   8          The Government emphasizes that Daubert imposes only a “gatekeeping role” on the Court,

                                   9   one that sets a low bar for finding relevance and reliability in expert testimony. Second Opp’n at

                                  10   1. “At this stage,” the Government argues, “this Court’s job is to keep out ‘nonsense opinions.’”

                                  11   First Opp’n at 1 (quoting City of Pomona, 750 F.3d at 1044). It contends that Mr. Scheetz’s

                                  12   testimony is “amply supported by historical facts, personal observations, experience in the field,
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                                  13   and [his] review of internal Hells Angels documents,” and so easily clears this hurdle. Id.

                                  14          Defendants counter that various parts of Mr. Scheetz’s testimony are inadmissible under

                                  15   Federal Rules of Evidence 402, 403, 404, 702, 707(b), Federal Rule of Criminal Procedure 16,

                                  16   Daubert, and this District’s precedents. See Wendt Obj. at 4, 10, 15. Defendants also argue that

                                  17   several of Mr. Scheetz’s opinions violate the Confrontation Clause as construed by the Supreme

                                  18   Court in its Crawford caselaw. See Cesena Obj. at 1. Defendants’ arguments may thus be

                                  19   grouped, broadly, into two categories: (1) those focusing on reliability and relevance issues under

                                  20   Rule 702 and Daubert and (2) those focusing on the Confrontation Clause and related hearsay

                                  21   issues. The Court addresses these arguments in turn.

                                  22   A.     Rule 16 Objections

                                  23          As an initial matter, Defendants argue that the Government failed to give adequate notice

                                  24   of the bases of Mr. Scheetz’s testimony, as required by Federal Rule of Criminal Procedure 16.

                                  25   See Wendt Opp’n at 4. More specifically, Defendants contend that the Government failed its Rule

                                  26   16 requirements and the earlier instructions of this Court by “reserv[ing] or omit[ting] disclosure

                                  27   of a substantial portion of the bases for Mr. Scheetz’s opinions and of the corroboration for the so-

                                  28   called bases that he provided.” Wendt Obj. at 7 (emphasis in original). But Defendants’
                                                                                         6
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                                   1   arguments on this score often pertain more to Daubert concerns and witness credibility

                                   2   determinations than the notice requirements of Rule 16. As such, many of these are dealt with

                                   3   below within the analytical framework of Federal Rule of Evidence 702.

                                   4          Moreover, as explained in United States v. Cerna—a case on which Defendants rely

                                   5   heavily in arguing that the Government has not carried its burden under Rule 16—the

                                   6   requirements imposed by Rule 16 are not overly demanding. “Rule 16(a)(1)(G), does not require

                                   7   recitation of the chapter and verse of the experts’ opinions, bases and reasons. No rule, statute, or

                                   8   decision necessitates such comprehensive disclosure.” No. 08-cr-0730-WHA, 2010 WL 2347406,

                                   9   at *2 (N.D. Cal. June 8, 2010). Instead,

                                  10                  Rule 16(a)(1)(G) requires that the government provide a summary of
                                                      the opinions of its experts to be used during its case-in-chief. The
                                  11                  rule requires that “[t]he summary . . . must describe the witness's
                                                      opinions, the bases and reasons for those opinions, and the witness's
                                  12                  qualifications.” The Advisory Committee Note to the 1993
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                                                      Amendment stated that the bases and reasons must be sufficient to
                                  13                  allow counsel to frame a Daubert motion (or other motion in
                                                      limine), to prepare for cross-examination, and to allow a possible
                                  14                  counter-expert to meet the purport of the case-in-chief testimony.
                                  15   Id. at *1. Unlike the abbreviated, one-paragraph summaries of factual bases that the government

                                  16   disclosed in that case, some of which the court found wanting, the 38-page declaration submitted

                                  17   by Mr. Scheetz here is more than adequate to satisfy Rule 16 requirements. See Second Opp’n at

                                  18   14-15. Although the Court ordered the Government to provide a complete description of Mr.

                                  19   Scheetz’s opinions and the bases therefore, see Wendt Obj. at 6-7, that disclosure is subject to a

                                  20   standard of reasonableness, viewed particularly in light of the extensive opportunity Defendants

                                  21   had to cross-examine Mr. Scheetz over numerous days.

                                  22          As an example of their objections, Defendants contend that Mr. “Scheetz explained for the

                                  23   first time on cross examination that some of his information re [sic] the Filthy Few and Purple

                                  24   Heart patches came from ‘debriefings’ with three cooperators.” Id. at 7; see also id. at 13. It is

                                  25   true that Mr. Scheetz did not reveal the identities of these sources in his Declaration, an omission

                                  26   that could conceivably violate Rule 16. But, as the Government notes, Mr. Scheetz has always

                                  27   maintained that his understanding of the meaning of, e.g., HAMC’s Filthy Few patch is based on

                                  28   the totality of his “personal observations,” “conversations with former Hells Angels members,”
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                                   1   “conversations with other law enforcement officers,” a “review of books about the Hells Angels,”

                                   2   and “knowledge about the backgrounds of ‘15-20’ Hells Angels members who wear the flash.”

                                   3   Second Opp’n at 8-9 (citing to, e.g., Decl. ¶¶ 66-68). As this example indicates, the factual bases

                                   4   that Mr. Scheetz disclosed are generally more than adequate to “allow[ing] [Defendants] to frame

                                   5   a Daubert motion (or other motion in limine), to prepare for cross-examination, and to allow a

                                   6   possible counter-expert to meet the purport of the case-in-chief testimony,” which is all that this

                                   7   District requires under Rule 16(a)(1)(G). See Cerna, 2010 WL 2347406, at *1. Where this is not

                                   8   the case, Mr. Scheetz’s lack of an adequate factual basis for an opinion has been addressed below

                                   9   in the Court’s Daubert analysis.

                                  10   B.     Rule 702 Objections

                                  11          Defendants do not seriously contest the general relevance of Mr. Scheetz’s testimony.

                                  12   Instead, their main argument is that Mr. Scheetz’s opinions are not “based on sufficient facts or
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                                  13   data” under Federal Rule of Evidence 702. Defendants also claim that Mr. Scheetz’s so-called

                                  14   compare-and-contrast methodology is unreliable for Rule 702 purposes, marked by “a profound

                                  15   confirmation bias” and a lack of analytical integrity. Wendt Obj. at 11. They point, in particular,

                                  16   to exchanges during the Daubert hearings to suggest that Mr. Scheetz has not adequately applied

                                  17   his “training and experience” to, nor “reached an independent judgment” about, numerous facts of

                                  18   the case. Id. at 18 (internal quotations omitted). Finally, Defendants argue that the Government

                                  19   seeks to use Mr. Scheetz’s testimony in ways that offend fundamental principles of due process

                                  20   and that this District has allegedly rejected in similar cases. See id. at 21-22.

                                  21          The Government responds by citing a number of appellate decisions where courts have

                                  22   upheld the reliability of law-enforcement expert testimony on the basis of the officers’ training and

                                  23   experience. See Second Opp’n at 1, 2-3. More specifically, it identifies several cases where

                                  24   courts permitted an expert to testify to gangs’ use of specialized symbols, terminology, and

                                  25   activities, as Mr. Scheetz seeks to do here. See id. at 1-2. The Government also argues that Mr.

                                  26   Scheetz’s explanation of his methodology, “compar[ing] and contrast[ing]” new intelligence to

                                  27   information he has previously learned, is sufficiently reliable for Daubert purposes. Id. at 4. And

                                  28   it contends that Mr. Scheetz’s testimony was based on a sufficient factual foundation, as required
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                                   1   by Rule 702. See id. at 7-11.

                                   2          1.      Legal Standards

                                   3          As the Government indicates, numerous courts have applied Daubert in determining the

                                   4   reliability of gang-expert testimony. In the oft-cited case of United States v. Hankey, the court

                                   5   upheld a district judge’s admission of testimony by “a police gang expert regarding

                                   6   the . . . repercussions for testifying against an affiliated gang member.” 203 F.3d 1160, 1164 (9th

                                   7   Cir. 2000). At trial, the defendant argued that he was not the individual identified by nickname in

                                   8   conversations with a police informant, and his co-defendant and another individual testified to the

                                   9   same. See id. at 1164-65. “In rebuttal, the government sought to discredit the exculpatory

                                  10   testimony . . . by offering the expert testimony” of a witness who opined that all three men “were

                                  11   members of affiliated street gangs, and that these gangs enforce a code of silence among their

                                  12   members that any affiliated gang member would be subject to violent retribution if one gang
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                                  13   member testified against another.” Id. at 1166. In analyzing the reliability of this testimony, the

                                  14   court stressed Kumho Tire’s teaching “that judges are entitled to broad discretion when

                                  15   discharging their gatekeeping function.” Id. at 1168. It further explained that “[t]he Daubert

                                  16   factors (peer review, publication, potential error rate, etc.) simply are not applicable to this kind of

                                  17   testimony, whose reliability depends heavily on the knowledge and experience of the expert,

                                  18   rather than the methodology or theory behind it.” Id. at 1169. Applying these principles, the court

                                  19   held the expert’s testimony both relevant and reliable because

                                  20                  the witness had devoted years working with gangs, [and] knew their
                                                      “colors,” signs, and activities. He heard the admissions of the
                                  21                  specific gang members involved. He had communicated and
                                                      worked undercover with thousands of other gang members. . . .
                                  22
                                                      Certainly the officer relied on “street intelligence” for his opinions
                                  23                  about gang membership and tenets. How else can one obtain this
                                                      encyclopedic knowledge of identifiable gangs? Gangs such as
                                  24                  involved here do not have by-laws, organizational minutes, or any
                                                      other normal means of identification . . . . [The expert] was
                                  25                  repeatedly asked the basis for his opinions and fully articulated the
                                                      basis, demonstrating that the information upon which he relied is of
                                  26                  the type normally obtained in his day-to-day police activity.
                                  27   Id. at 1169-70; see also United States v. Alatorre, 222 F.3d 1098, 1104 (9th Cir. 2000) (affirming

                                  28   reliability of testimony on basis of expert’s “twelve years of experience as a special agent,
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                                   1   specialized training in the methods by which narcotics are used and sold, and extensive knowledge

                                   2   of marijuana smuggling as a result of his work as a case agent and in other capacities”); United

                                   3   States v. Padilla, 387 F.3d 1087, 1094 (9th Cir. 2004) (affirming reliability of gang expert based

                                   4   on detective’s “extensive experience with Los Angeles street gangs”).

                                   5            Ninth Circuit law thus provides that testimony by law-enforcement experts is generally

                                   6   reliable under Daubert where the witness demonstrates that his opinion is based on substantial

                                   7   “knowledge and experience,” Hankey, 203 F.3d at 1169, and/or “specialized training” in the

                                   8   conduct of criminal enterprises, Alatorre, 222 F.3d at 1104.3

                                   9            Nevertheless, the Ninth Circuit has at times ruled that a witness’s “general qualifications”

                                  10   as an expert do not suffice to satisfy Daubert, since under Rule 702 a witness’s opinions must also

                                  11   be “supported by reliable methods” that are reliably applied to the facts at hand. United States v.

                                  12   Hermanek, 289 F.3d 1076, 1083 (9th Cir. 2002). In Hermanek, the prosecution introduced
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                                  13   testimony of an FBI agent who interpreted coded language—some of which he had never heard

                                  14   prior to trial—in wiretapped phone calls allegedly relating to cocaine transactions. See id. The

                                  15   Ninth Circuit agreed with defendants that “the government failed to establish a reliable basis for

                                  16   [the expert’s] interpretations of words and phrases he encountered for the first time.” Id. at 1093.

                                  17   Whereas in Hankey “the expert explained in detail the nature of his personal knowledge and

                                  18   explained the connection between that knowledge and the particular conclusion that the witnesses

                                  19

                                  20   3
                                         The Ninth Circuit’s treatment of law-enforcement experts’ reliability is consonant with that of
                                  21   other courts of appeals. In United States v. Smith, for instance, the Fourth Circuit addressed a
                                       Daubert-based challenge from defendants who argued that a gang expert’s testimony was “not the
                                  22   product of a reliable methodology for interpreting coded jargon.” 919 F.3d 825, 835 (4th Cir.
                                       2019). The court first explained that the witness was qualified “as an expert in drug and gang
                                  23   terminology” because he “was a twelve-year veteran of the FBI with substantial experience in
                                       drug and gang investigations (conducting controlled buys, interviewing drug dealers and gang
                                  24   members, using gang members as confidential sources, listening to thousands of recorded
                                       conversations, and so forth).” Id. Having found the witness qualified to testify as an expert, the
                                  25   court next held that he “employed a sound methodology” and that he “reliably applied it to the
                                       facts in forming his expert opinions.” Id. at 836. And the court’s example of the expert’s reliable
                                  26   application of his methodology was that he decoded a phrase used by defendants in accordance
                                       with “his experience with other investigations as well as the context of this investigation.” Id.; see
                                  27   also United States v. Parkhurst, 865 F.3d 509, 516-17 (7th Cir. 2017) (stating that “[t]raining and
                                       experience are proper foundations for expert testimony,” that such testimony is admissible
                                  28   “without requiring ‘scientific methodologies’ or ‘peer review,’” and that law-enforcement experts
                                       may point to “factors such as the officer’s years of experience and number of investigations”).
                                                                                         10
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                                   1   were gang members,” id. at 1094 (emphasis added), in Hermanek the witness’s “vague statements

                                   2   on voir dire that he interpreted such words based on his knowledge of the defendants” was

                                   3   insufficient under Rule 702, id. at 1096.4 More recently, in Valencia-Lopez, the Ninth Circuit

                                   4   ruled that a district court failed to discharge its Daubert responsibilities in allowing an expert to

                                   5   testify, over the defendant’s duress claim, “that there was ‘[a]lmost nil, almost no[ ]’ likelihood

                                   6   drug cartels would . . . coerce him, at gunpoint, to carry illegal drugs across the border.” 971 F.3d

                                   7   at 898-99 (brackets in original). While the agent “had sufficient experience and knowledge to

                                   8   testify as an expert,” id. at 898, he “never explained the methodology, if any, that he relied on to

                                   9   arrive at the near-zero probability of drug trafficking organizations using coerced couriers,” id. at

                                  10   900. “Rather, like the expert in Hermanek,” the witness “failed to link his general expertise with

                                  11   his ‘almost nil’ conclusion, and by never explaining how his expertise lent itself to that

                                  12   conclusion,” the court could not “sort out what ‘reliable principles and methods underl[ay] the
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                                  13   particular conclusions offered.’” Id. (quoting Hermanek, 289 F.3d at 1094) (emphasis in original).

                                  14            The Ninth Circuit therefore underscores that while an expert’s experiential knowledge and

                                  15   training may qualify him to testify as an expert, the district court must also ensure that his

                                  16   testimony is “based on sufficient facts or data,” that he employs “reliable principles and methods”

                                  17   generally, and that the methodology is “reliably applied . . . to the facts of the case.” Fed. R. Evid.

                                  18   702.

                                  19            Some courts have been particularly cautious about permitting gang experts to opine

                                  20   expansively as part of the prosecution’s case-in-chief. In Cerna, the government sought to

                                  21   introduce testimony from twenty-four experts in a RICO/VICAR prosecution of MS-13 members;

                                  22   the defendants objected on the grounds of Federal Rule of Criminal Procedure 16(a)(1)(G),

                                  23   governing disclosure requirements, rather than Daubert proper. See 2010 WL 2347406 at *1. The

                                  24   court nevertheless analyzed the issue through an evidentiary framework:

                                  25                   The substantive concern is this: Should police officers be allowed to
                                                       testify as “experts” to supply opinions in place of hard facts to prove
                                  26

                                  27   4
                                         These shortcomings gave the appearance that the expert “at times . . . interpreted cryptic
                                  28   language as referring to cocaine simply because he believed appellants to be cocaine
                                       traffickers”—an example of “circular, subjective reasoning.” Id.
                                                                                       11
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                                                      elements of an offense? . . .
                                   1
                                                      No one should be convicted and sent to prison based on an opinion
                                   2                  of a police officer that an element of an offense was committed
                                                      when that element is amenable to ordinary fact proof. . . . One of the
                                   3                  key elements of a RICO conspiracy is the structure, organization,
                                                      and management of the affairs of a racketeering enterprise, all as
                                   4                  they relate to conducting the affairs of an enterprise through a
                                                      pattern of racketeering activity. . . . Juries would ordinarily rely on
                                   5                  fact witnesses, such as cooperating witnesses and undercover
                                                      officers, to supply the facts. They do not need police opinions to do
                                   6                  this. Under Rule 702, expert testimony is reserved for opinions that
                                                      will assist the trier of fact. . . .
                                   7
                                                      Here, the main thrust of the proffer will not assist the trier of fact.
                                   8                  The way MS-13 operated and its structure should be proven with
                                                      facts, not opinions, at least on quintessential fact questions. The
                                   9                  racketeering organization alleged to exist in this case is the MS-13
                                                      gang itself. The gang’s existence, organization and history should,
                                  10                  therefore, be proven through undercover officers, cooperating
                                                      witness, admissions by defendants, co-conspirator statements,
                                  11                  physical evidence, documents, videos and photographs, wiretaps,
                                                      and recordings. . . .
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                                  13   Id. at *5 (emphasis in original). The court noted that Hankey and two similar Ninth Circuit cases

                                  14   had “allowed the introduction of law enforcement expert opinion regarding the existence,

                                  15   structure, and history of gangs.” Id. at *6. It distinguished those cases, however, because the

                                  16   testimony “was allowed only as rebuttal testimony and for the limited purpose of impeaching a

                                  17   defense witness.” Id. “No RICO conviction has been sustained in the Ninth Circuit,” the court

                                  18   went on, “wherein the RICO elements were proven by opinion evidence from a gang expert

                                  19   admitted in the case-in-chief.” Id. However, it is unclear whether the Ninth Circuit rested its

                                  20   decisions on the fact that the expert evidence was introduced in rebuttal, and there is no obvious

                                  21   reason why that distinction should matter in a Daubert motion.

                                  22          Other courts in this district have appeared to endorse the reasoning of Cerna in similar

                                  23   circumstances. See United States v. Flores, No. 12-cr-00119-SI, 2014 WL 12686740, at *1 (N.D.

                                  24   Cal. June 16, 2014) (admitting expert testimony on gang colors and symbols, tattoos and graffiti,

                                  25   and specific terminology but not testimony “that would more properly be elicited from percipient

                                  26   witnesses,” such as the contention “that certain gangs operate in South San Francisco,” “that they

                                  27   committed acts of violence to enhance the gang’s standing,” “that rival gangs fight and engage in

                                  28   retaliatory killings, and that they dislike ‘snitches’”); United States v. Williams, No. 13-cr-00764-
                                                                                         12
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                                   1   WHO, 2016 WL 899145, at *5 (N.D. Cal. Mar. 9, 2016) (allowing expert testimony on a gang’s

                                   2   “common slang,” “gang territory,” and “gang symbols,” but excluding opinions related to “gang

                                   3   alliances and rivalries,” “general characteristics of gangs, including common values and

                                   4   behaviors,” and gangs’ “use of rap music”). In Williams, the court noted that judges in this district

                                   5   “have been . . . skeptical about the admissibility” of “broad-ranging gang expert testimony,” citing

                                   6   Flores and Cerna in support. Id. at *5. “The government,” the court asserted, “needs to prove the

                                   7   existence of a criminal enterprise and the violent crimes committed on its behalf on the basis of

                                   8   evidence from lay witnesses, not through the opinions of a police officer who has spent most of

                                   9   his career, among other things, investigating people in the group against whom [a] case is

                                  10   brought.” Id. The court also noted that the expert should not be allowed to testify on topics that

                                  11   are “central factual issues” in the case at hand; the expert’s “pronouncements on elements of the

                                  12   charged offense [would] serve as shortcuts to proving guilt.” See id. at *8-9.
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                                  13            Other courts in the Ninth Circuit, though, “have allowed gang expert evidence in the case-

                                  14   in-chief in a RICO/VICAR prosecution.” Cerna, 2010 WL 2347406 at *7; see, e.g., United States

                                  15   v. McIntosh, 2008 WL 4754763, at *2-4 (C.D. Cal. Mar. 14, 2008) (admitting some, and

                                  16   disallowing other, aspects of proposed gang experts’ testimony).

                                  17            As discussed below, the issue of whether law-enforcement experts may “supply opinions

                                  18   in place of hard facts,” Cerna, 2010 WL 2347406 at *5, is best analyzed through the lens of the

                                  19   Sixth Amendment right of confrontation. It is therefore addressed in Section IV.C of the order,

                                  20   infra.

                                  21            2.     Scheetz’s Scientific, Technical, or Other Specialized Knowledge

                                  22            As a threshold matter, the Court finds that Mr. Scheetz is “qualified as an expert by

                                  23   knowledge, skill, experience, training, or education” to offer opinions about HAMC and other

                                  24   “outlaw motorcycle gangs” (“OMGs”). Fed. R. Evid. 702. As the Government points out, Mr.

                                  25   Scheetz:

                                  26                   •       Has been involved (in some capacity) in about 250
                                                               investigations into the Hells Angels. [Docket No. 1184-1
                                  27                           (“Tr.”) at 38.]
                                  28                   •       Has debriefed about 100 people associated with the Hells
                                                                                         13
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                                                                Angels, including about 10-15 former members of the Hells
                                   1                            Angels, 10-15 prospects, and 5 hangarounds.5 Tr. 66, 255–
                                                                256.
                                   2
                                                        •       Has analyzed evidence seized from Hells Angels
                                   3                            investigations all over the world. This evidence includes
                                                                photographs, meeting minutes, rulebooks, and rosters.
                                   4                            [Docket No.] 1084-1, ¶ 5 (Evidentiary Hearing Exhibit 2).
                                   5                    •       Speaks with other law enforcement officers who investigate
                                                                Outlaw Motorcycle Gangs (OMGs) on a “daily basis.” ECF
                                   6                            No. 1084-1 (Evidentiary Hearing Exhibit 2), ¶ 5. These law
                                                                enforcement officers, in turn, have “personally
                                   7                            interview[ed]” witnesses and “run[] sources” across the
                                                                globe, including current and former Hells Angels members.
                                   8                            Tr. 45, 72.
                                   9                    •       Has listened to “jail calls and wire intercepts, reviewed post-
                                                                arrest statements, . . . and reviewed documents seized from
                                  10                            members of OMGs.” [Docket No.] 1084-1 (Evidentiary
                                                                Hearing Exhibit 2), ¶ 14.
                                  11

                                  12   See Second Opp’n at 2. “This extensive experience compares favorably to other law enforcement
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                                  13   experts whose testimony courts have found reliable” in cases such as Hankey, Alatorre, and the

                                  14   Fourth Circuit’s recent decision in United States v. Smith. Id.; see also Smith, 919 F.3d 825, 835-

                                  15   36 (4th Cir. 2019) (described, supra, at note 3). Defendants, moreover, do not seriously question

                                  16   Mr. Scheetz’s qualifications to serve as an expert. Mr. Scheetz’s knowledge, experience, and

                                  17   training therefore qualify him to testify as an expert under Rule 702.

                                  18             3.     Relevance of Scheetz’s Testimony

                                  19             The Government also establishes the general relevance of Mr. Scheetz’s opinions under

                                  20   Rule 702(a). Mr. Sheetz’s proffered testimony covers the topics of gang symbols, terms, and

                                  21   territory. See Decl. “[T]hese topics are the traditional areas in which a gang expert can testify,”

                                  22   Second Obj. at 11 (internal quotation omitted), as such testimony may be expected to “help the

                                  23   trier of fact to understand the evidence or to determine a fact in issue,” Fed. R. Evid. 702(a). See

                                  24   Cerna, No. 08-cr-0730-WHA, 2010 WL 11627594, at *6 (N.D. Cal. Dec. 17, 2010) (stating that

                                  25   an expert’s “interpretation of code words, colors, tattoos, gang-territory mapping, and symbols

                                  26   generally will assist the jury in understanding fact evidence”); Williams, 2016 WL 899145, at *5

                                  27

                                  28   5
                                           For explanations of these terms, see Decl. ¶¶ 103-10.
                                                                                          14
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                                   1   (permitting gang expert testimony on slang, territory, and symbols). Mr. Scheetz’s opinions on

                                   2   these topics are generally relevant under Daubert.

                                   3            4.     Scheetz’s Principles and Methods

                                   4            As the foregoing discussion suggests, the Rule 702 threshold requirement that an expert be

                                   5   qualified often does not meaningfully differ, in the case of law-enforcement experts, from the

                                   6   reliability provision of subsection (c). In both instances, the witness’s experience, knowledge, and

                                   7   training are the overriding focus of the courts’ attention.6 Here, the Government argues that Mr.

                                   8   Scheetz’s “extensive experience” provides “a reliable foundation for the testimony [he] proposes

                                   9   to offer,” Second Opp’n at 2-3, and lists the bases for his familiarity with HAMC symbols,

                                  10   terminology, and territory, id. at 3. In addition to the features of Mr. Scheetz’s training and

                                  11   experience described above in Section IV.2, the Government emphasizes that Mr. Scheetz “knows

                                  12   what the [HAMC] symbols are because he’s personally observed them, and knows what they
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                                  13   mean because he’s talked to former [HAMC] members about them.” Id. at 3 (citing Decl. ¶¶ 45,

                                  14   66, 70, 73; Tr. at 28-29, 43). Additionally, the Government asserts that Mr. Scheetz is “familiar

                                  15   with [HAMC] terms and territory because he has researched the organization’s history and has

                                  16   seen or heard those terms used in internal [HAMC] documents, countless conversations with other

                                  17   law enforcement officers . . . , debriefings with [HAMC] members and associates, and jail calls

                                  18   between [HAMC] members.” Id. (citing Docket No. 1084-4 at EXPERT0000232; Docket No.

                                  19   1084-5; Tr. at 102, 201).

                                  20            Defendants contest the integrity of Mr. Scheetz’s self-described “compare and contrast”

                                  21   methodology, arguing that it operates merely as “a mantra” and fails to “verify sources, contrast

                                  22   sources, or question assumptions in a reliable manner.” Wendt Obj. at 2. The Government

                                  23   responds that Mr. Scheetz’s compare-and-contrast approach involves a synthesis of information

                                  24   from various sources and an application of independent, critical judgment to that information. It

                                  25   describes his methods in the following manner:

                                  26

                                  27   6
                                         For example, in Hankey and similar cases, courts often cite a witness’s experience, training, and
                                  28   professional knowledge as probative of the reliability of his methods and their application, even
                                       though the two inquiries are analytically distinct, as the Hermanek court insists. See supra.
                                                                                         15
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                                                      In both his declaration and during cross-examination, Scheetz
                                   1                  repeatedly explained that he evaluates new information against what
                                                      he knows “from other investigations” into the Hells Angels, what he
                                   2                  has “observ[ed] at Hells Angels events,” and what he knows “from
                                                      [his] conversations with witnesses and confidential informants.”
                                   3                  [Docket No.] 1084-1 (Evidentiary Hearing Exhibit 2), ¶ 15. The
                                                      “first thing” Scheetz does when he learns new intelligence is
                                   4                  examine “who is giving [him] that information”: “is it a law
                                                      enforcement entity” or a “civilian.” Tr. 328. Then he “look[s] at
                                   5                  the validity” of the intelligence by “compar[ing] and contrast[ing]”
                                                      it with information that he’s “either seen” or can research. Tr. 16,
                                   6                  328. To research, Scheetz may “search through all [his]
                                                      historical data”; “reach out to ATF special agents who have
                                   7                  conducted infiltrations”; “reach[] out to other law enforcement
                                                      entities”—many of whom have “personally interviewed” current and
                                   8                  former Hells Angels; and “look at social media,” “books,”
                                                      “newspaper articles,” police “reports[,] and officer safety bulletins.”
                                   9                  Tr. 16, 45.
                                  10   Second Opp’n at 3-4 (emphasis added). The Government also emphasizes that Mr. Scheetz does

                                  11   not take all information he encounters at face value: Mr. “Scheetz is sometimes unable to

                                  12   ‘formulate a conclusion’ about whether what he’s learned is accurate,” and when he “learns
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                                  13   ‘through other channels’ that information is inaccurate, he gives less weight to a particular source”

                                  14   and reevaluates “the validity of the conclusions that he draws.” Id. at 4.

                                  15          The Court finds that Mr. Scheetz’s principles and methods are reliable within the meaning

                                  16   of Rule 702. As Hankey and related decisions repeatedly emphasize, law-enforcement expertise

                                  17   “depends heavily on the knowledge and experience” of the officer, rather than on the kinds of

                                  18   factors that Daubert enumerated for scientific testimony (e.g., peer review, testability, etc.). See

                                  19   203 F.3d at 1170. In the instant case, the Government maintains that Mr. Scheetz considers the

                                  20   source of new information he receives about HAMC and other OMGs; that he assesses the validity

                                  21   of new information by setting it against the totality of his accumulated knowledge about these

                                  22   groups; and that he further tests the veracity of new information by consulting with fellow experts

                                  23   in the field, as well as public and private media sources. Mr. Scheetz has demonstrated “the same

                                  24   level of intellectual rigor that characterizes the practice of an expert in the relevant field.” See

                                  25   Kumho Tire, 526 U.S. at 152; see also United States v. Paracha, 2006 WL 12768, at *20

                                  26   (S.D.N.Y. Jan. 3, 2006) (finding a terrorism expert’s methodology reliable where it consisted of

                                  27   “gathering multiple sources of information, including original and secondary sources, cross-

                                  28   checking and juxtaposing new information against existing information and evaluating new
                                                                                          16
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                                   1   information to determine whether his conclusions remain consonant with the most reliable

                                   2   sources”).

                                   3            While Defendants argue that Mr. Scheetz’s repeated invocations of “comparing and

                                   4   contrasting” amount to empty sloganeering, that he fails to credit all information neutrally, that he

                                   5   suffers from “a profound confirmation bias,” and that he is susceptible to “group think,” see

                                   6   Wendt Obj. at 11, these are matters that go to the weight of his testimony. They are therefore

                                   7   “reserved for the jury” and not subject to exclusion under Daubert. See City of Pomona, 750 F.3d

                                   8   at 1044.

                                   9            Defendants also protest that much of Mr. Scheetz’s purported expertise derives from in-

                                  10   person conferences and other conversations with law-enforcement officials and informants whose

                                  11   contents have not been memorialized in writing.7 Defendants assert, for instance, that “the

                                  12   Government did not provide the reports, written by others, referred to by Mr. Scheetz,” nor did he
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                                  13   have any “notes or summaries of his contacts with other law enforcement experts.” Wendt Obj. at

                                  14   8; see also Lyles Obj. at 2 (discussing “the significance of Scheetz’s practice of not taking notes,

                                  15   memorializing, or otherwise documenting information he receives from other purported OMG

                                  16   experts”). But this lack of documentary evidence for Mr. Scheetz’s testimony again concerns Mr.

                                  17   Scheetz’s credibility as a witness, not the fundamental reliability of his principles and methods.

                                  18   The Court cannot conclude as a matter of law that failing to keep a written of factual knowledge

                                  19   acquired by the expert is so inherently untrustworthy as to render any opinion based thereon

                                  20   inadmissible under Daubert. Mr. Scheetz’s failure to reduce many of his personal interactions

                                  21   with other intelligence officers to written form renders his testimony vulnerable to charges of, e.g.,

                                  22   inaccuracy or fabrication—charges that Defendants are of course free to develop at trial. But his

                                  23   reliance on conferences and personal conversation as part of his methodology is precisely the kind

                                  24   of “[s]haky but admissible evidence” that “is to be attacked by cross examination, contrary

                                  25   evidence, and attention to the burden of proof, not exclusion.” City of Pomona, 750 F.3d at 1044

                                  26

                                  27
                                       7
                                         See Decl. ¶ 12: “I routinely attend and conduct training at national and international conferences
                                       and symposiums about OMGs. . . . Often, former members of an OMG are present, and I have the
                                  28   opportunity to informally debrief them. Through these conferences and symposiums, I also speak
                                       to OMG experts from across the globe.”
                                                                                        17
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                                   1   (quoting Primiano, 598 F.3d at 564).

                                   2          In sum, the Court is satisfied that “the information upon which [Mr. Scheetz] relie[s] is of

                                   3   the type normally obtained in [an agent’s] day-to-day police activity,” Hankey, 203 F.3d at 1170,

                                   4   and that it therefore constitutes a reliable methodology for Daubert purposes. The Government

                                   5   plausibly argues “that other professionals develop their knowledge about the Hells Angels the

                                   6   same way that [Mr. Scheetz] does: they review evidence, read documents, speak with other law

                                   7   enforcement officers, and draw inferences based on personal observations.” Second Opp’n at 6.

                                   8   This showing is sufficient to clear the low bar that Daubert sets for admitting expert testimony.

                                   9          5.      Reliability of Scheetz’s Application and Sufficiency of Factual Bases

                                  10          Having established Mr. Scheetz’s qualifications as an expert, the general relevance of his

                                  11   opinions, and the reliability of his methodology under Rule 702, the Court turns to Defendants’

                                  12   objections to Mr. Scheetz’s testimony on the grounds that he applied his principles in an unreliable
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                                  13   fashion and/or lacked an adequate factual basis for his conclusions.

                                  14          In general, the Court finds that Mr. Scheetz’s methods have been reliably applied to the

                                  15   facts at hand and that his opinions are supported by an adequate factual basis. In its principal post-

                                  16   hearing brief, the Government provides a detailed summary of the “specific information on which

                                  17   Scheetz based his opinions” of the Hells Angels’ symbols, terminology, and territory. See id. at 7-

                                  18   11. Regarding symbols, for example, “the basis for Scheetz’s testimony about the appearance of

                                  19   the four-piece back-patch is his personal observations of hundreds of events at which members of

                                  20   the Hells Angels have been present and his review of thousands of photographs of Hells Angels

                                  21   members wearing their colors,” as well as “his review of the Hells Angels World Rules, which set

                                  22   forth requirements for the back patch.” Id. at 8 (citing evidentiary hearing exhibits) (internal

                                  23   quotation marks omitted). Similarly, regarding terms, Mr. Scheetz’s testimony about the Nomads,

                                  24   another alleged OMG with ties to the Hells Angels, “is based on his knowledge about the

                                  25   establishment of Nomads charters,” “use of the phrase in internal Hells Angels documents such as

                                  26   the [Big House] List . . . and West Coast Officers’ Meeting minutes,” “and descriptions of

                                  27   Nomads charters in press accounts.” Id. at 10 (citing evidentiary hearing exhibits). As Mr.

                                  28   Scheetz’s opinions on these topics and others like them are generally supported by multiple
                                                                                        18
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                                   1   sources of information and plausibly result from the reliable application of his compare-and-

                                   2   contrast methodology, they are admissible under Rule 702. Cf. Hermanek, 289 F.3d at 1093-94

                                   3   (explaining that expert provided “no basis for assessing the reliability of [his] interpretation” of

                                   4   certain gang terminology).

                                   5          Defendants, however, plausibly argue that a number of Mr. Scheetz’s specific statements

                                   6   should be excluded under Daubert because they either result from unreliably applied methods

                                   7   and/or lack an adequate factual foundation. Notably, these statements tend to concern purported

                                   8   episodes of violence between HAMC and rival OMGs. The Court divides its discussion between

                                   9   the main categories of Mr. Scheetz’s declaration.

                                  10                  a.      HAMC Symbols

                                  11          First, Defendants argue that certain publications about HAMC that Mr. Scheetz cites in his

                                  12   discussion of symbols do not constitute a sufficient factual basis for Daubert purposes. The
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                                  13   dispute focuses on a document titled The Definitive History of the Hells Angels. See Docket No

                                  14   1084-3. As Defendants mention, cross-examination during the Daubert hearings revealed that Mr.

                                  15   Scheetz, though relying on the work for “the history of the Hells Angels Death Head,” Decl. ¶ 34,

                                  16   did not know “who had authored the document and had never actually verified its authorship,”

                                  17   Wendt Obj. at 9 (citing Tr. at 47-50). Defendants are presumably correct that a witness’s reliance

                                  18   on a text whose authorship he is unfamiliar with may in some circumstances fail Daubert. But

                                  19   Mr. Scheetz’s declaration also cites to additional sources beyond the Definitive History when

                                  20   discussing the origins and certain implications of the Death Head logo (e.g., the significance of the

                                  21   stitched-shut mouth). See Decl. at, e.g., ¶¶ 35, 36, 43. Further, as explained above, Mr. Scheetz’s

                                  22   use of such sources as “books” and “newspaper articles” as part of his broader intelligence-

                                  23   gathering practice satisfies the methodological-reliability requirement of Rule 702. Questions

                                  24   about the publications’ journalistic shortcomings, authorial biases, or a witness’s confusion about

                                  25   the origins of a specific text go to credibility rather than threshold reliability under Daubert.

                                  26          Much the same analysis applies to the book written by Yves Lavigne, titled Hell’s Angels:

                                  27   Three Can Keep a Secret if Two Are Dead, that Mr. Scheetz occasionally cites. Defendants stress

                                  28   that during the Daubert hearings Mr. Scheetz acknowledged that “he had no idea how Lavigne
                                                                                         19
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                                   1   came up with the information in his book” and, more importantly, “agreed that the quotation

                                   2   which he chose to cite,” in paragraph 68 of his Declaration, “might be entirely invented and

                                   3   attributed to a fictional character.” Wendt Obj. at 9 (citing Tr. at 59-62, 179-80). It is true that

                                   4   Mr. Scheetz’s reliance on anecdotes whose veracity he cannot vouch for “as an analogy” to other

                                   5   incidents that he presumably can attest to raises non-trivial questions of admissibility. See id.

                                   6   (quoting Tr. at 61-62). As the Court noted with respect to the Definitive History document,

                                   7   however, Mr. Scheetz’s reliance on published books about HAMC is not inherently suspect, and

                                   8   factual inaccuracies or speculative inventions within those books should be revealed through

                                   9   “cross-examination” and “contrary evidence” at trial rather than outright exclusion. See City of

                                  10   Pomona, 750 F.3d at 1044 (quoting Primiano, 598 F.3d at 564). And as with The Definitive

                                  11   History, his opinion on this matter is not reliant solely on this publication but rests on a broader

                                  12   body of information.
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                                  13            Defendants are correct, however, in arguing that Mr. Scheetz’s opinion that “the Death

                                  14   Head represents violence,” Decl. ¶ 40, is problematic. See Wendt Obj. at 16. Mr. Scheetz first

                                  15   offers this opinion in paragraph 40 of his declaration, which also asserts that “[a]nyone or

                                  16   anything that opposes or disrespects a member or the colors is subject to the wrath of the HAMC,

                                  17   including being subject to violence.” Decl. ¶ 40. No source is cited in support of this broad

                                  18   contention, nor is any foundation laid for it in the surrounding discussion of the Death Head’s

                                  19   centrality to the HAMC mythos. See id. ¶¶ 39-49. Mr. Scheetz elaborates on his belief that “the

                                  20   Death Head represents violence” in paragraphs 50-55. See id. ¶ 50. There, he recites incidents

                                  21   from the “long history of violence” that he attributes to HAMC, focusing in particular on “a series

                                  22   of violent confrontations with the Mongols Motorcycle Club” starting in the 1970s. See id. ¶¶ 50,

                                  23   52. After Mr. Scheetz quotes a passage from another book that ostensibly illustrates “the violent

                                  24   character of the Hells Angels,” id. ¶ 50, the next four paragraphs simply describe “violence

                                  25   between the Hells Angels and adversarial motorcycle groups,” id. ¶ 54, such as that which

                                  26   occurred at Laughlin, Nevada, in 2002, see id. ¶¶ 52-53.8 In none of these paragraphs is the Death

                                  27

                                  28
                                       8
                                         In paragraph 55, meanwhile, Mr. Scheetz opines that “Hells Angels know that violence is part of
                                       their organization” because they “frequently take care of prospects and members who have been
                                                                                       20
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                                   1   Head so much as mentioned, much less specifically tied to these violent encounters in a way that

                                   2   would substantiate Mr. Scheetz’s claim that the logo “represents violence.” Instead, Mr. Scheetz

                                   3   simply juxtaposes his conclusory opinion about the Death Head’s meaning with incidents

                                   4   suggesting that HAMC, as a whole, is a violent organization. Because this evidence is insufficient

                                   5   factual support for the proposition that the Death Head specifically symbolizes violence, Mr.

                                   6   Scheetz cannot testify to the violent incidents in paragraphs 50-54. He also cannot assert the

                                   7   substantive opinions in paragraphs 40 and 50, as he offers no reliable methodology for his

                                   8   conclusions.

                                   9          Similarly, Mr. Scheetz’s conclusion that the HAMC “bottom rocker,” part of the four-piece

                                  10   back patch on members’ vests, “refers to a claim of territory” raises Rule 702 questions insofar as

                                  11   Mr. Scheetz uses this opinion to then recount additional “violent confrontations . . . with other

                                  12   adversarial OMGs.” See id. ¶ 58. In this part of his declaration, Mr. Scheetz again discusses “the
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                                  13   Hells Angels[’] long-running feud with the Mongols,” which he argues grew increasingly violent

                                  14   in the 1970s “due to the Mongols’ use of the California bottom rocker” and HAMC’s

                                  15   simultaneous assertion of “the sole right to display the California bottom rocker.” Id. ¶¶ 59-61.

                                  16   While the factual basis for parts of this narrative is unclear, the declaration suggests (and the

                                  17   Government represented at the post-Daubert hearing) that it is supported by accounts of two

                                  18   former OMG members, who suggested in public statements that the rivalry between the groups

                                  19   “worsened because of the Mongols’ use of the California bottom rocker.” See id. ¶ 61; Docket

                                  20   No. 1225 at 19-20. Because Mr. Scheetz’s testimony here involves synthesizing information from

                                  21   multiple sources and exercising independent judgment in finding the former members’ statements

                                  22   credible, it is has an adequate factual basis and is therefore admissible under Daubert. But Mr.

                                  23   Scheetz’s description, in paragraph 60, of a 1977 killing of two Mongols by HAMC members in

                                  24   San Diego is inadmissible because Mr. Scheetz does not show that this incident is attributable, in

                                  25   any specific way, to the groups’ competing claims to territory (rather than to their broader rivalry).

                                  26

                                  27
                                       incarcerated” for acts of violence. Decl. ¶ 55. Because this conclusion is supported by internal
                                  28   HAMC documents listing “every Hells Angels member who has been incarcerated,” id., it is
                                       admissible under Rule 702.
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                                   1   See Decl. ¶ 60. Without establishing such a connection, Mr. Scheetz strays beyond the

                                   2   significance of HAMC symbols—the locus of his purported expertise—and instead merely

                                   3   catalogues episodes of apparently indiscriminate violence between the OMGs. Such testimony

                                   4   about specific instances of violence cannot be cited to support his opinion on the bottom rocker

                                   5   absent any demonstrable nexus.9

                                   6                   b.      HAMC Terms

                                   7            Defendants also challenge Mr. Scheetz’s account of “the Hells Angels[’] history of violent

                                   8   conflicts with adversarial OMGs,” id. ¶ 89, found in Mr. Scheetz’s discussion of HAMC charters,

                                   9   as “[t]he basic organizational unit of the HAMC . . . , which is operated out of a city or county,”

                                  10   id. ¶ 76. While stating that individual charters enjoy significant autonomy in their day-to-day

                                  11   activities, id. ¶ 81, Mr. Scheetz also contends that “individual charters believe themselves to be

                                  12   part of a single organization,” id. ¶ 89. The basis for this opinion is the fact that “[m]embers of
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                                  13   charters carry out violent acts against adversaries that span time and geography, and those violent

                                  14   acts sometimes have no apparent triggering event other than the existence of a historical rivalry”

                                  15   between HAMC and rival groups. Id. More specifically, Mr. Scheetz points to a 2006 encounter

                                  16   between members of HAMC and another OMG, the Outlaws, where the participants were from

                                  17   different parts of the country; Mr. Scheetz’s only explanation for the incident is therefore “the

                                  18   historical feud” among the umbrella organizations, rather than individual charters. Id. This

                                  19   opinion, which is partly based on Mr. Scheetz’s “debriefing [of] former or current Hells Angels

                                  20   members,” id., is adequately supported by relevant facts and involves a plausible exercise of

                                  21   critical judgment. It is therefore admissible under Daubert.

                                  22            But Mr. Scheetz’s specific conclusion, in paragraph 90, “that Hells Angels charters are

                                  23   strategically established to fend off expansion by an adversary or demonstrate control over an

                                  24   area” is not supported by a sufficient factual basis. See id. ¶ 90. The two book quotations that Mr.

                                  25   Scheetz cites to substantiate this claim merely state (1) that HAMC charters were added so as “to

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                                       9
                                        Mr. Scheetz remains free to opine that “HAMC members use their colors to intend to intimidate
                                       other OMGs and the public,” Decl. ¶ 63, as that conclusion is supported by Mr. Scheetz’s personal
                                  28   observations of an incident involving HAMC members and Mongols, as well as his understanding
                                       “of the long history of violence between” the two groups, id.
                                                                                       22
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                                   1   contribute to [the group’s] image and business concerns” (e.g., by “distributing drugs in an

                                   2   untapped area”) and (2) that the charters were intended “to function under the same rules” as one

                                   3   another. Id. (emphasis added). Neither of these quotations sustains Mr. Scheetz’s opinion in

                                   4   paragraph 90; the former, if anything, undermines it. And the evidence offered in the next two

                                   5   paragraphs simply describes additional instances of violence between HAMC and rival OMGs,

                                   6   which fail to offer any specific foundation for Mr. Scheetz’s claim that charters are typically

                                   7   “established to limit the reach of [HAMC] adversaries.” See id. ¶¶ 91-92. No demonstrable nexus

                                   8   is shown. This particular opinion thus fails to pass muster under Daubert, as it lacks a factual

                                   9   basis and reliable methodology.

                                  10          Defendants are also correct in arguing that Mr. Scheetz’s references to the document

                                  11   known as the “Fresno Rules” is inadmissible under Daubert. This document was included as

                                  12   Exhibit 13 to Mr. Scheetz’s declaration and is referenced at numerous points in his testimony. See
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                                  13   Docket No. 1084-14; Decl. ¶¶ 82, 100, 109, 112, 115. When the document was mentioned during

                                  14   the Daubert hearings, however, Mr. Scheetz admitted that he was entirely unfamiliar with it and

                                  15   could not explain how it had been included with his declaration. See Wendt Obj. at 18 (citing Tr.

                                  16   at 84-85).10 Defendants have therefore shown that testimony based specifically on the Fresno

                                  17   Rules must be excluded, as Mr. Scheetz acknowledged that his opinions do not actually derive

                                  18   from the document. The Court notes, however, that none of the paragraphs in which the Fresno

                                  19   Rules are referenced in connection with Mr. Scheetz’s opinions rely exclusively on that document

                                  20   in reaching their conclusions. As those opinions are not otherwise inadmissible, Mr. Scheetz

                                  21   remains free to offer them but may not rely on the Fresno Rules as support.

                                  22                  c.      HAMC Territory

                                  23          The most significant challenge Defendants raise to the factual basis for Mr. Scheetz’s

                                  24   opinions is the lengthy catalogue of “violent incidents between the Hells Angels” and rival OMGs,

                                  25   see Decl. ¶ 120, in the final section of his declaration. In paragraphs 120-21, Mr. Scheetz briefly

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                                       10
                                          Defendants seek to leverage this error as proof that Mr. “Scheetz is taking his cues from the
                                       Government” and that it “undermines [his] claims of independent judgment” throughout the
                                  28   entirety of his testimony. Id. These arguments go to Mr. Scheetz’s credibility rather than the
                                       reliability of his methods generally or their application to other facts in this case.
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                                   1   refers, in bullet-point form, to more than sixty encounters between HAMC and the Mongols or

                                   2   Vagos groups. A typical entry states: “On May 10, 2014, Paul Gibson, HAMC Oahu, Hawaii,

                                   3   stabbed David Coombes, formerly of Vagos, 12 times near James Kealoha Beach Park, Hawaii.”

                                   4   Id. ¶ 121(d). All of these references are meant to support the conclusion, previously articulated in

                                   5   Mr. Scheetz’s discussion of the bottom rocker, that “this violence arose from a dispute over

                                   6   territory.” See id. ¶ 120. But, as before, nowhere in this extensive list does Mr. Scheetz establish

                                   7   that the violent incidents he recounts are attributable specifically to a conflict over territory, as

                                   8   opposed to a personal conflict or general gang rivalry. In alluding to the Oahu stabbing, for

                                   9   example, Mr. Scheetz does not provide any evidence showing that the incident was motivated by a

                                  10   territorial dispute rather than a more general conflict between the groups or even a purely personal

                                  11   quarrel. The same is true for the other episodes that Mr. Scheetz recalls. While he indicates that

                                  12   they are documented in various newspaper articles that he appends to his declaration as Exhibits
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                                  13   17 and 18, Mr. Scheetz does not offer any justification for selecting these particular incidents to

                                  14   support his opinion or even explain how he knows them to be anything more than indiscriminate

                                  15   acts of violence.

                                  16           Revealingly, Mr. Scheetz was questioned at the Daubert hearings about this catalogue of

                                  17   violence between the Hells Angels and rival OMGs. When asked by defense counsel “if there was

                                  18   an opinion on territory being expressed” in this section of his declaration, Mr. Scheetz responded,

                                  19   “I don’t believe so, no. These are just listing of violent acts that have transpired between [HAMC]

                                  20   and an adversarial OMG.” Wendt Obj. at 16 (quoting Tr. at 197). Mr. Scheetz therefore expressly

                                  21   acknowledged that these incidents do not constitute a sufficient factual basis for his opinion that

                                  22   widespread violence between HAMC and rival groups has arisen specifically “from a dispute over

                                  23   territory.” See Decl. ¶ 120. As that conclusion is ostensibly what these incidents are being

                                  24   mentioned to substantiate—and what Mr. Scheetz is qualified as an expert to opine on—the Court

                                  25   finds them inadmissible under Daubert for lack of a factual basis and reliable methodology.

                                  26           Finally, Defendants are also correct that Mr. Scheetz’s testimony as to these sixty-plus

                                  27   incidents is independently excludable under Federal Rule of Evidence 403. That rule permits a

                                  28   court to “exclude relevant evidence if its probative value is substantially outweighed by a danger
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                                   1   of . . . unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or

                                   2   needlessly presenting cumulative evidence.” Fed. R. Evid. 403 (emphasis added). Defendants

                                   3   point out that they would be obliged at trial to challenge the veracity of each violent incident

                                   4   recounted by Mr. Scheetz, potentially creating “for each one a little mini-trial” and generating “an

                                   5   incredible amount of rebuttal evidence.” Docket No. 1225 at 31. The Government suggests that

                                   6   Defendants could refute Mr. Scheetz’s testimony by calling their own expert witness, but it is not

                                   7   clear that due process principles would permit the Court to mandate such an expedient. Because

                                   8   the prospect of such a drawn-out evidentiary dispute at trial would be intolerable, Rule 403

                                   9   supplies an adequate basis for disallowing Mr. Scheetz’s testimony on the violent incidents his

                                  10   declaration recounts in paragraphs 120-122.

                                  11   C.      Confrontation Clause and Hearsay Objections

                                  12           In the Wendt objection, Defendants argue that Mr. Scheetz’s testimony is inadmissible
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                                  13   under the Confrontation Clause because it frequently functions as a “[p]ass [t]hrough” for

                                  14   testimonial hearsay in the form of his various sources’ conclusions. Wendt Obj. at 19. In a

                                  15   supplemental brief, Defendant Cesena offers three specific examples of purported Confrontation

                                  16   Clause violations: Mr. Scheetz’s opinions concerning (1) the meaning of the Filthy Few and

                                  17   Dequaillo patches, (2) the termination of HAMC’s Shasta Charter, and (3) the violent character of

                                  18   HASC.

                                  19           The Government does not directly address confrontation issues in its post-hearing briefs

                                  20   but did so in its pre-hearing opposition to Defendants’ motion to exclude. See First Opp’n at 13-

                                  21   16. The Government there contends that Scheetz’s testimony is not “simply a conduit for

                                  22   hearsay” and so does not implicate Defendants’ Sixth Amendment rights. Id. at 13.

                                  23           1.     Legal Background

                                  24           Since Crawford, the Supreme Court has decided several cases testing the limits of the

                                  25   Confrontation Clause. In 2012, it addressed the interaction between the confrontation right and

                                  26   expert testimony, specifically the question of whether Crawford and its progeny “bar an expert

                                  27   from expressing an opinion on facts . . . that have been made known to the expert but about which

                                  28   the expert is not competent to testify.” Williams v. Illinois, 567 U.S. 50, 56 (2012) (Alito, J.)
                                                                                         25
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                                   1   (plurality opinion).11 There, the prosecution in a rape trial had “called an expert who testified that

                                   2   a DNA profile produced by an outside laboratory . . . matched a profile produced by the state

                                   3   police lab”; the expert “referred to the DNA profile . . . as having been produced from semen

                                   4   found on the victim’s vaginal swabs” even though the only basis for this conclusion was the

                                   5   profile itself (which was not admitted into evidence). Id. at 56-57. The case thus focused on the

                                   6   potential incongruity between the Confrontation Clause and the longstanding principle, codified in

                                   7   Rule 703, that “an expert may voice an opinion based on facts” that “the expert lacks first-hand

                                   8   knowledge of.” Id. at 67; see also Fed. R. Evid. 703 (permitting expert testimony based on

                                   9   evidence that is itself inadmissible).

                                  10          Williams produced a fractured decision in which the Court held that the expert’s statements

                                  11   did not violate the Confrontation Clause because they were not testimonial, but in which five

                                  12   Justices also agreed that the DNA profile on which the expert relied amounted to hearsay. A four-
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                                  13   Justice “plurality” concluded that the profile was not hearsay because the statement in question—

                                  14   that the DNA profile was in fact generated from the victim’s vaginal-swab sample—was not

                                  15   offered to prove the truth of the matter asserted. Rather, it was a “mere premise” that was “simply

                                  16   assumed . . . to be true” by the expert, 567 U.S. at 72, and was further substantiated with

                                  17   additional evidence, see id. at 76. This use of “basis evidence,” the plurality argued, is consistent

                                  18   with Rule 703, which expresses the view “that the disclosure of basis evidence can help the

                                  19   factfinder understand the expert’s thought process and determine what weight to give to the

                                  20   expert’s opinion.” Id. at 78. The plurality also held, “[a]s a second, independent basis for [its]

                                  21   decision,” id. at 58, that the profile was not testimonial because it did not have “the primary

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                                       11
                                  24     The previous year, the Court narrowly resolved a similar issue in Bullcoming v. New Mexico,
                                       564 U.S. 647 (2011). There, it held that the prosecution could not use a “surrogate” expert to
                                  25   vouch for a forensic report, also admitted into evidence, that certified the defendant’s blood-
                                       alcohol concentration. Williams, 567 U.S. at 66 (Alito, J.) (plurality opinion). The Court ruled
                                  26   that only the testimony of the expert who had “performed or observed the actual analysis,” and not
                                       that of another expert who “was only familiar with the general testing procedures of the
                                  27   laboratory,” could satisfy the Confrontation Clause. Id. Because the forensic report was held to
                                       be testimonial hearsay, the defendant had the right under the Sixth Amendment “to be confronted
                                  28   with the [expert] who made the certification.” Id. (quoting Bullcoming, 564 U.S. at 657).

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                                   1   purpose of accusing a targeted individual of engaging in criminal conduct,”12 id. at 82, and it was

                                   2   not formalized in the manner of “extrajudicial statements, such as affidavits, depositions, prior

                                   3   testimony, or confessions, that the Confrontation Clause was originally understood to reach,” id at

                                   4   58. Justice Thomas concurred in the judgment because he also believed that the DNA profile was

                                   5   non-testimonial, in accordance with his unique understanding of that term.13

                                   6          Five Justices, however, concluded that the expert’s statements were hearsay because they

                                   7   were introduced to prove the truth of the matter asserted. Justice Thomas concluded that “[t]here

                                   8   is no meaningful distinction between disclosing an out-of-court statement so that the factfinder

                                   9   may evaluate the expert’s opinion and disclosing that statement for its truth.” Id. at 106. Justice

                                  10   Kagan, writing for four dissenters, agreed that the profile amounted to hearsay and offered an

                                  11   explanation similar to that of Justice Thomas: “when a witness, expert or otherwise, repeats an

                                  12   out-of-court statement as the basis for a conclusion,” she argued, “the statement’s utility is then
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                                  13   dependent on its truth.” See id. at 126. Justice Kagan thus observed that “five Justices agree, in

                                  14   two opinions reciting the same reasons,” that the expert’s statements about the DNA report were

                                  15   hearsay, “and the State could not rely on her status as an expert to circumvent the Confrontation

                                  16   Clause’s requirements.” Id. The dissenters also held that the profile represented a testimonial

                                  17   statement because it was “meant to serve as evidence in a potential criminal trial,” id. at 138, thus

                                  18   bringing it within the ambit of the Confrontation Clause as testimonial hearsay, see id. at 133-34.

                                  19          The Williams dissent concluded by noting that, because no single rationale “command[ed]

                                  20   the support of a majority,” the doctrinal effect of Williams “is—to be frank—who knows what.”

                                  21

                                  22   12
                                          Five Justices pointed out that the plurality’s definition of “testimonial” here differs somewhat
                                  23   from, and is arguably more restrictive than that adopted by the Court in other recent Confrontation
                                       Clause decisions. See 567 U.S. at 133-38 (Kagan, J., dissenting) (“We have previously asked
                                  24   whether a statement was made for the primary purpose of establishing ‘past events potentially
                                       relevant to later criminal prosecution’—in other words, for purpose of providing evidence.”); see
                                  25   also id. at 114-17 (Thomas, J., concurring in judgment) (“The original formulation of that test
                                       asked whether the primary purpose of an extrajudicial statement was ‘to establish or prove past
                                  26   events potentially relevant to later criminal prosecution’”; “The new primary purpose test asks
                                       whether an out-of-court statement has ‘the primary purpose of accusing a targeted individual of
                                  27   engaging in criminal conduct.’”).

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                                         See id. at 110-11 (concluding, as in earlier opinions, “that the Confrontation Clause regulates
                                       only the use of statements bearing ‘indicia of solemnity.’”).
                                                                                         27
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                                   1   Id. at 141. Yet in the wake of Williams, several circuit courts have developed a broadly consistent

                                   2   framework for analyzing the admissibility of gang expert testimony vis-à-vis the Confrontation

                                   3   Clause and hearsay doctrine. In doing so, they have focused on a remark in Williams where the

                                   4   plurality urges trial courts to “screen out experts who would act as mere conduits for hearsay by

                                   5   strictly enforcing the requirement that experts display some genuine ‘scientific, technical, or other

                                   6   specialized knowledge [that] will help the trier of fact to understand the evidence or to determine a

                                   7   fact in issue.’” Id. at 80 (quoting Fed. R. Evid. 702(a)). Thus, in United States v. Vera, the Ninth

                                   8   Circuit noted the tension between the Confrontation Clause and various Federal Rules of Evidence

                                   9   but explained:

                                  10                    Under [Rule 703], there is generally no Crawford problem when an
                                                        expert “appli[es] his training and experience to the sources before
                                  11                    him and reach[es] an independent judgment.” [United States v.
                                                        Gomez, 725 F.3d 1121, 1129 (9th Cir. 2013)] (quoting United States
                                  12                    v. Johnson, 587 F.3d 625, 635 (4th Cir. 2009)). But an expert
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                                                        exceeds the bounds of permissible expert testimony and violates a
                                  13                    defendant's Confrontation Clause rights when he “is used as little
                                                        more than a conduit or transmitter for testimonial hearsay, rather
                                  14                    than as a true expert whose considered opinion sheds light on some
                                                        specialized factual situation.” Id. (quoting Johnson, 587 F.3d at
                                  15                    635). Accordingly, the key question for determining whether an
                                                        expert has complied with Crawford is the same as for evaluating
                                  16                    expert opinion generally: whether the expert has developed his
                                                        opinion by “applying his extensive experience and a reliable
                                  17                    methodology.” United States v. Dukagjini, 326 F.3d 45, 54 (2d Cir.
                                                        2003).
                                  18

                                  19   770 F.3d 1232, 1237-38 (9th Cir. 2014) (emphasis added).

                                  20          The Vera court then discussed the Second Circuit’s decision in United States v. Mejia, 545

                                  21   F.3d 179 (2d Cir. 2008), to illustrate “how case agent expert testimony can violate a defendant's

                                  22   Confrontation Clause rights.” 770 F.3d at 1238. In Mejia, an expert “identified custodial

                                  23   interrogations of MS-13 members as at least a partial basis for his testimony” that the gang was a

                                  24   racketeering enterprise, and “did not have to conduct a ‘synthesis of various source materials’ or

                                  25   apply any of ‘his extensive experience [or] a reliable methodology’” to form his opinion. Id.

                                  26   (quoting Mejia, 545 F.3d at 197). Instead, the expert’s “testimony ‘was based directly on

                                  27   statements made by an MS-13 member in custody (during the course of th[at] very investigation),”

                                  28   which were communicated “directly to the jury in the guise of an expert opinion.” Id. (quoting
                                                                                        28
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                                   1   Mejia, 545 F.3d at 198-99). In contrast, while the expert in Vera relied in part on “contacts with

                                   2   [gang] members” and reviews of “wiretapped telephone calls” in opining about a California

                                   3   gang’s control over certain territory, “nothing in [his] testimony suggest[ed] that he was directly

                                   4   repeating what someone else told him about the [gang] during this or any other investigation.” Id.

                                   5   at 1239 (emphasis added). In particular, the expert testified, inter alia, “that [an apartment

                                   6   complex] fell within the territory of the Minnie Street Lopers gang and that the gang maintained

                                   7   control over narcotics sales within [the complex] and the surrounding areas by requiring any non-

                                   8   member drug dealers in the area to pay a tax.” Id. at 1238. Because the expert “knew from

                                   9   reviewing intercepted telephone calls that [a defendant] did not pay taxes to anyone else in the

                                  10   neighborhood, [the expert] concluded that [the defendant] was one of the leaders of the narcotics

                                  11   trade in [the complex].” Id. (internal quotation omitted). Against the defendants’ Crawford

                                  12   challenge, the court held that the expert did not violate the Confrontation Clause because he was
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                                  13   not “directly repeating what someone else told him about the Minnie Street Lopers during this or

                                  14   any other investigation,” his conclusions “distilled and synthesized what he had learned through

                                  15   his experience,” and he “did not impart” information gleaned from the wiretapped calls “for its

                                  16   own sake, but to explain the basis for his expert opinion.” Id. at 1239. Moreover, whatever

                                  17   information derived from the contacts and phone calls that the expert conveyed was not introduced

                                  18   to prove the truth of the matter asserted “but to explain the basis for his expert opinion” on a

                                  19   related matter. Id. The Vera court thus held that the expert did not violate the Confrontation

                                  20   Clause, rejecting defendants’ argument that his opinions amounted to “repackaged testimonial

                                  21   hearsay.” Id.; see also United States v. Garcia, 793 F.3d 1194, 1213-15 (10th Cir. 2015) (framing

                                  22   the Crawford-Rule 703 inquiry in similar terms).14

                                  23

                                  24
                                       14
                                          The Tenth Circuit has explained: “If an expert simply parrots another individual's out-of-court
                                       statement, rather than conveying an independent judgment that only incidentally discloses the
                                  25   statement to assist the jury in evaluating the expert's opinion, then the expert is, in effect,
                                       disclosing that out-of-court statement for its substantive truth; the expert thereby becomes little
                                  26   more than a backdoor conduit for an otherwise inadmissible statement.” 793 F.3d at 1213
                                       (quoting United States v. Pablo, 696 F.3d 1280, 1288 (10th Cir. 2012)) (emphasis added).
                                  27   Applying these principles, the court held that several contested statements offered by a gang
                                       expert violated the defendant’s confrontation right. For example, the expert opined that certain
                                  28   individuals made attractive targets for gang members based on “investigative interviews” that the
                                       government conceded were testimonial in nature. Id. at 1214. The court held that this testimony
                                                                                         29
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                                   1          In sum, an expert violates the Confrontation Clause when he acts as “a conduit or

                                   2   transmitter for testimonial hearsay,” Vera, 770 F.3d at 1237, by “directly repeating what someone

                                   3   else told him,” id. at 1239, or otherwise “parrot[ing]” a testimonial out-of-court statement, Garcia,

                                   4   793 F.3d at 1213.15 But where an expert “reach[es] an independent judgment,” Vera, 770 F.3d at

                                   5   1237, e.g., by performing a “synthesis of various source materials,” Mejia, 545 F.3d at 197, or in a

                                   6   way that “only incidentally discloses the [inadmissible] statement to assist the jury in evaluating

                                   7   the expert's opinion,” Garcia, 793 F.3d at 1213, then he does not run afoul of a defendant’s

                                   8   confrontation right. Cf. Cerna, 2010 WL 2347406 at *5-6 (quoting Mejia for the proposition that

                                   9   experts may not “simply disgorge” opinions on “the facts needed to satisfy the elements of the

                                  10   charged offense” in place of testimony from percipient witnesses).

                                  11          2.      Defendants’ Objections

                                  12          The Government’s pre-hearing brief summarizes the “conduit” theory of the confrontation
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                                  13   right vis-à-vis Rule 703, and argues that Defendants have “not identified any opinions that simply

                                  14   transmit testimonial hearsay.” First Opp’n at 15. Defendants propose that Mr. Scheetz’s opinions

                                  15   concerning (1) the Filthy Few and Dequaillo tags, (2) the circumstances of the Shasta Charter’s

                                  16   disbandment, and (3) the Sonoma County charter’s reputation for violence are all simply

                                  17   “repackaged testimonial hearsay.” See Cesena Obj. at 1; Vera, 770 F.3d at 1239.

                                  18          First, regarding the Filthy Few and Dequaillo patches, Defendants place strong emphasis

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                                  20
                                       violated the Confrontation Clause because the expert “simply relayed what [certain] gang
                                  21   members told him.” Id. Similarly, the expert asserted that two individuals were high-status
                                       members within a gang and explained that his knowledge was acquired “[t]hrough debriefing
                                  22   other gang members” who had become cooperating witnesses in that investigation. Id. at 1215.
                                       The court held that the testimony was “quintessential parroting” and so barred by the Sixth
                                  23   Amendment. Id.; see also United States v. Rios, 830 F.3d 403, 417-18 (6th Cir. 2016) (noting the
                                       “tension” between Rule 703 and Crawford, but explaining that, with gang experts, “it is the
                                  24   process of amalgamating the potentially testimonial statements to inform an expert opinion that
                                       separates an admissible opinion from an inadmissible transmission of testimonial statements”);
                                  25   United States v. Garcia, 752 F.3d 382, 393-95 (4th Cir. 2014) (stating that an expert may not
                                       “merely channel[ ] information and statements by non-testifying participants in [a] conspiracy into
                                  26   the trial record” and holding inadmissible statements where an expert “simply substituted
                                       information gleaned from,” e.g., “post-indictment debriefings of participants in the conspiracy”).
                                  27   15
                                         Such statements, it bears repeating, must be “testimonial,” as the Court has defined that term in
                                  28   Crawford and its progeny, for the Confrontation Clause to apply in the first place. On the
                                       definitions the Court has offered on this term, see note 12 above.
                                                                                         30
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                                   1   on the fact that Mr. Scheetz claimed to have “interviewed three ATF cooperating witnesses and

                                   2   spoke[n] to two more witnesses” (the former event apparently occurring between the first and

                                   3   second Daubert hearings) to support his understanding of the patches’ significance. Cesena Obj.

                                   4   at 6. According to Defendants, the Daubert hearings confirmed that these discussions provided

                                   5   the only basis for Mr. Scheetz’s understanding of the tags’ meanings, as Mr. “Scheetz provided no

                                   6   evidence in support of [his] conclusions in his declaration.” Id. at 1 (citing Tr. at 136-38, 145-46).

                                   7   In their account, Mr. Scheetz’s testimony thus amounts to “the relay of inadmissible hearsay

                                   8   information (from cooperating witnesses) to the jury.” Id. at 6.

                                   9          But in arguing that Mr. Scheetz “provided no evidence of these conclusions in his

                                  10   declaration,” id. at 1, Defendants cite to only two paragraphs of his declaration. In fact, as the

                                  11   Court indicated above, Mr. Scheetz devotes at least eight paragraphs to the meaning of these

                                  12   patches, paragraphs that are premised on a number of evidentiary sources. See Decl. ¶¶ 65-72; see
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                                  13   also Second Opp’n at 8-9 (explaining that Mr. Scheetz’s knowledge of the Filthy Few patch is

                                  14   based on, inter alia, “personal observations,” “conversations with other law enforcement officers,”

                                  15   and a “review of books about the Hells Angels”). Mr. Scheetz’s testimony about the significance

                                  16   of these tags thus involves a “synthesis of various source materials,” Mejia, 545 F.3d at 197, and

                                  17   does not merely “repeat[ ] what someone else told him,” Vera, 770 F.3d at 1239. As a result, his

                                  18   opinions do not run afoul of the Confrontation Clause or the prohibition on hearsay evidence.

                                  19          Second, regarding the Shasta County charter’s termination, Mr. Scheetz opines in his

                                  20   Declaration that individual HAMC “charters are bound by decisions made at the higher levels of

                                  21   the HAMC organization.” Decl. ¶ 88. He bases this conclusion on the minutes of a June 2007

                                  22   HAMC West Coast Officers’ Meeting, which state that the Shasta County charter was “frozen”

                                  23   pursuant to a motion submitted by the Sonoma County and Frisco charters. Id. During the

                                  24   Daubert hearings, Mr. Scheetz went on to allege “that the Sonoma charter voted to freeze the

                                  25   Shasta charter because the Shasta charter did not retaliate when [the Mongols] shot one of Shasta’s

                                  26   members.” Cesena Obj. at 2; Tr. at 154-59, 320-23. The minutes, however, offer a rationale for

                                  27   the disbandment of the Shasta charter inconsistent with that offered by Mr. Scheetz in the

                                  28   hearings. See Docket No 1084-21 at 2 (stating, in the minutes, that Shasta was frozen due to the
                                                                                         31
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                                   1   charter membership’s “low numbers”). Mr. Scheetz was pressed on this discrepancy on cross-

                                   2   examination and explained that “the sole source of information” for his allegation concerning

                                   3   Shasta’s failure to retaliate “was Jorge Gil-Blanco, a former motorcycle club expert,” Cesena Obj.

                                   4   at 2, who himself “learned the information from the member of another motorcycle club,” id.

                                   5   (citing Tr. at 323).

                                   6           Setting aside the Confrontation Clause issue presented by Mr. Scheetz’s statements about

                                   7   the specific reason for the Shasta County charter’s disbandment, i.e., its members’ failure to

                                   8   retaliate against the Mongols, the Court finds that they are excludable under Rule 702 as lacking

                                   9   an adequate factual basis. Questioning by both Defendants and the Court at the Daubert hearings

                                  10   established that Mr. Scheetz’s opinion, admittedly based on reporting from Mr. Gil-Blanco, is not

                                  11   supported by the meeting minutes themselves. See, e.g., Tr. at 157-58. Moreover, Defendants

                                  12   submitted a notice of false testimony after the hearings arguing that Mr. Scheetz’s statements
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                                  13   concerning the freezing of the Shasta charter were “demonstrably false—and, indeed impossible,”

                                  14   as the Mongols’ shooting of the Shasta HAMC member to which Mr. Scheetz referred did not

                                  15   occur until November 2008 (long after the June 2007 West Coast Officers’ Meeting at which the

                                  16   Shasta charter was shut down).16 Lyles Obj. at 11. In response, the Government acknowledged

                                  17   that Mr. “Scheetz was mistaken in his recollection regarding the [Shasta member’s] shooting

                                  18   being a specific reason for Shasta’s dissolution,” but explained that “other disputes between the

                                  19   Hells Angels” and a different OMG, the Vagos, underlay the Shasta charter’s disbandment, as Mr.

                                  20   Gil-Blanco contended in his report. Third Obj. at 3; see also Docket No. 1214-2 (appending Gil-

                                  21   Blanco’s report as Exhibit 1). Since the Government concedes that Mr. Scheetz’s testimony about

                                  22   the particular reason for the Shasta charter’s termination was based on a “mistake of fact,” Third.

                                  23   Obj. at 4, the Court has little difficulty concluding that this opinion is not “based on sufficient

                                  24   facts or data,” Fed. R. Evid. 702, and so must be excluded under Daubert.17

                                  25

                                  26
                                       16
                                         Defendants support this assertion by pointing to “readily available newspaper articles” from late
                                       2008 and early 2009, which they provide as attachments to their brief. See Lyles Obj. at 2; id. at
                                  27   Attachment B.

                                  28
                                       17
                                         For the reasons previously given, the Court rejects Defendants’ “joint request to exclude Mr.
                                       Scheetz from testifying” altogether as a result of this mistake, especially given Defendants’ failure
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                                   1          In its opposition to the Lyles brief, however, the Government argues that Mr. “Scheetz’s

                                   2   error does not cast doubt on his conclusion” that Shasta was shut down because of a failure to

                                   3   retaliate against a rival OMG, “regardless of which violent incident led to Shasta’s dissolution.”

                                   4   Third Opp’n at 5. Insofar as the Government wishes to introduce Mr. Scheetz’s opinion “that the

                                   5   Shasta charter was frozen by the Hells Angels’ West Coast officers after the charter failed to

                                   6   respond appropriately to violence by rivals,” id. at 5, the Court finds that the Government is not

                                   7   barred by the Confrontation Clause from doing so.

                                   8          Assuming, arguendo, that Mr. Scheetz’s exclusive reliance on Mr. Gil-Blanco for this

                                   9   opinion amounts to “parroting” of hearsay,18 the report is nevertheless not a testimonial statement

                                  10   under Crawford and its progeny. The Government has not made clear the exact nature of Gil-

                                  11   Blanco’s report,19 which “summarize[s] the history, the background and characteristics that make

                                  12   up the Hells Angels” and concludes “that the Hells Angels are a world wide criminal
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                                  13   organization,” Docket No. 1214-2 at 5. But the document appears originally to have been

                                  14   prepared for the Crown Solicitor’s Office of New South Wales, Australia; Mr. Gil-Blanco was

                                  15   seemingly serving as an expert witness in court proceedings there in or before 2014. See id.

                                  16

                                  17
                                       to demonstrate that “Scheetz knowingly lied about the reasons for the freezing of the Shasta
                                  18   charter.” Lyles Obj. at 12; see also Third Obj. at 6 (citing cases for the proposition that “honestly
                                       mistaken witness recollections generally do not” establish false testimony). The Court also
                                  19   disagrees, however, with the Government’s contention that Mr. Scheetz’s error in this instance
                                       “goes to weight and credibility, rather than admissibility,” id. at 4, given its concession that there
                                  20   is no factual basis for this particular opinion. In any event, the Government represented at the
                                       post-Daubert hearing that it will not elicit from Scheetz “an opinion about . . . why the Shasta
                                  21   chapter was frozen.” Docket No. 1225 at 39.
                                       18
                                  22      Mr. Scheetz admitted throughout the Daubert hearings that his belief about the genuine reason
                                       for the Shasta charter’s disbandment was predicated solely on the account that Gil-Blanco
                                  23   provided to him, either in the written report or personal conversation. See, e.g., Tr. at 320
                                       (indicating that Scheetz had personally spoken with Gil-Blanco about the Shasta County charter’s
                                  24   dissolution and related matters); Tr. at 386 (affirming that Gil-Blanco was Mr. Scheetz’s “only
                                       source of th[e] information” about the Shasta charter’s disbandment). The Government re-
                                  25   confirmed this fact in its opposition to the Lyles brief. See Third Opp’n at 3 (explaining Mr.
                                       Scheetz’s erroneous testimony as a misremembrance of “the expert report of Gil Blanco”). The
                                  26   Government notes that Mr. Scheetz testified that he also “reached out to ATF law enforcement
                                       officers” about HAMC’s rivalry with other OMGs, but these other officers “didn’t go into detail
                                  27   about the [Shasta] charter being frozen.” Third Opp’n at 3 (quoting Tr. at 324-25).

                                  28
                                       19
                                         The Government simply refers to the document as an “expert report,” Third Opp’n at 3, and a
                                       “‘Statement of Opinion’ regarding the Hells Angels,” Docket No. 1214-1 at 1.
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                                   1   (stating that Gil-Blanco had “been asked to prepare this report by the NSW Crown Solicitor’s

                                   2   Office on behalf of the NSW Commissioner of Police,” and that he had read “the Expert Witness

                                   3   Code of Conduct” in the court’s rules of civil procedure). The report was then evidently

                                   4   distributed among fellow OMG intelligence officers in the ATF (and perhaps other law-

                                   5   enforcement agencies), as Mr. Scheetz’s testimony indicates.

                                   6          While the report’s provenance is therefore somewhat ambiguous, the document is not

                                   7   “testimonial” as the Supreme Court defined the term in Williams, where the Court explained that

                                   8   out-of-court statements are testimonial when, inter alia, they have “the primary purpose of

                                   9   accusing a targeted individual of engaging in criminal conduct.” 567 U.S. at 82. In contrast, Mr.

                                  10   Gil-Blanco’s report was not prepared in anticipation, or as part, of the instant case, nor (with one

                                  11   passing exception) does it mention any of the eleven Defendants here.20 It also contains no quotes

                                  12   from any percipient witnesses here. Moreover, Mr. Scheetz’s familiarity with the report seems to
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                                  13   derive from its circulation within the OMG intelligence community over the course of several

                                  14   years, rather than from its use in a given prosecution. In contrast, the out-of-court statements that

                                  15   the Supreme Court and courts of appeals have identified as testimonial under Crawford generally

                                  16   pertain to the particular case in which the statements are introduced. See, e.g., Crawford, 541 U.S.

                                  17   at 38 (custodial statement made after Miranda warnings that shifted blame from declarant to

                                  18   accused); Melendez-Diaz, 557 U.S. at 308 (certified lab report having purpose of showing that

                                  19   substance connected to defendant contained cocaine); United States v. Garcia, 752 F.3d 382, 393-

                                  20   94 (4th Cir. 2014) (statements made during post-indictment debriefings of non-testifying

                                  21   participants in a conspiracy).21

                                  22          Mr. Scheetz’s opinion “that the Shasta charter was frozen by the Hells Angels’ West Coast

                                  23
                                       20
                                  24     The report includes a photograph of Defendant Foakes, briefly describing his involvement in
                                       “the Laughlin River shootout (between Hells Angels and Mongols) in April 2002). Docket No.
                                  25   1214-2 at 31.
                                       21
                                  26     In Williams, moreover, the dissenters objected to the introduction of a forensic report very
                                       similar to those in Melendez-Diaz and Bullcoming, showing “a DNA profile produced by an
                                  27   analyst at [a] laboratory . . . made to establish some fact in a [particular] criminal proceeding,” and
                                       “detail[ing] the results of forensic testing on evidence gathered by the police.” 567 U.S. at 123
                                  28   (Kagan, J., dissenting). This type of case-specific forensic document is very different from the
                                       capsule history of an organization offered by Gil-Blanco’s report.
                                                                                           34
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                                   1   officers after the charter failed to respond appropriately to violence by rivals,” Third Opp’n at 5, is

                                   2   therefore not barred by the Confrontation Clause.

                                   3          The Court also notes that Mr. Scheetz remains free to opine that local HAMC “charters are

                                   4   bound by decisions made at the higher levels of the HAMC organization,” Decl. ¶ 88, and to rely

                                   5   on the West Coast Officers Meeting minutes as a factual basis for the opinion, as that document

                                   6   plausibly suggests that HAMC’s West Coast Officers determine whether some individual HAMC

                                   7   charters may continue to operate.

                                   8          Lastly, Defendants argue that Mr. Scheetz’s testimony during the Daubert hearings that

                                   9   HASC “is considered a violent charter,” Tr. at 330, violates Defendants’ confrontation rights.

                                  10   Cesena Obj. at 2, 9. At the hearings, Mr. Scheetz claimed, in a colloquy with the Court, that his

                                  11   conclusion was based on a combination of “analytical reports” and “arrest reports,” in addition to

                                  12   conversations with “ATF special agents who are assigned in California.” Tr. at 330. Defendants
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                                  13   claim that the statement about the HASC charter’s reputation for violence merely “parrot[s]

                                  14   statements made by [the] ATF agents.” Cesena Obj. at 9.

                                  15          But Mr. Scheetz’s opinion does not simply amount to “directly repeating what someone

                                  16   else told him,” as it has been mediated by his own “independent judgment” as an expert. See

                                  17   Vera, 770 F.3d at 1237 (internal quotations omitted). His conclusion about HASC’s propensity

                                  18   for violence is based, at least in part, on arrest reports he has reviewed, which suggests that he has

                                  19   conducted a “synthesis of various source materials,” Mejia, 545 F.3d at 197, and has drawn a

                                  20   “considered opinion” from them. Vera, 770 F.3d at 1237. Moreover, under the Ninth Circuit’s

                                  21   analysis in Vera, Mr. Scheetz’s disclosure of facts taken from arrest reports does not constitute

                                  22   excludable hearsay since he is “not impart[ing]” information gleaned from the reports “for its own

                                  23   sake, but to explain the basis for his expert opinion.” See id. at 1239. As a result, Mr. Scheetz

                                  24   would only “incidentally disclose[ ] the [inadmissible] statement to assist the jury in evaluating

                                  25   [his] opinion,” much as he did during the Daubert hearings. See Garcia, 793 F.3d at 1213.

                                  26   Defendants have therefore not established that Mr. Scheetz was acting as a mere conduit of, or

                                  27   pass-through for, testimonial hearsay with respect to Mr. Scheetz’s statement about HASC’s

                                  28   reputation as a violent charter.
                                                                                         35
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                                   1                                        V.       CONCLUSION

                                   2          For the reasons given above, the Court DENIES Defendants’ motion to exclude the

                                   3   entirety of Mr. Scheetz’s proposed expert testimony as irrelevant and/or unreliable under Rule

                                   4   702. The Court GRANTS the motion with respect to the following opinions and statements:

                                   5              •   Decl. ¶ 40 (opining that “the Death Head represents violence”);

                                   6              •   Decl. ¶¶ 50-54 (opining that “the Death Head represents violence” and describing

                                   7                  violent incidents as factual support);

                                   8              •   Decl. ¶ 60 (describing specific incident to show that “[v]iolence between the

                                   9                  HAMC and the Mongols has continued”);

                                  10              •   Decl. ¶¶ 90-92 (opining that “Hells Angels charters are strategically established to

                                  11                  fend off expansion by an adversary”);

                                  12              •   Decl. ¶¶ 82, 100, 109, 112, and 115 (citing Fresno Rules in support of various
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                                  13                  propositions; opinions otherwise admissible where supported by factual basis);

                                  14              •   Decl. ¶¶ 120-22 (describing specific incidents to show that “violence arose from a

                                  15                  dispute over territory”).

                                  16              •   Tr. at 154-59, 320-23 (opining on the specific reason for the Shasta Charter’s

                                  17                  dissolution).

                                  18          This order disposes of Docket No. 984.

                                  19

                                  20          IT IS SO ORDERED.

                                  21

                                  22   Dated: January 8, 2021

                                  23

                                  24                                                    ______________________________________
                                                                                         EDWARD M. CHEN
                                  25                                                     United States District Judge
                                  26

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